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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
   Civil Action No.


   JOSE MANUEL ROSALES RODRIQUEZ;

   A 077 782 651

                        Petitioner,

   V.

   MUKASEY, MICHAEL Acting Attorney General of the United States; KEVIN D.

   ROONEY, Dir., EOIR, Immigration Court, MICHAEL CHERTOFF, Secretary, DHS;

   JEFF HAMILTON, ICE Detention Supervisor

                        Respondents.

                                  WRIT OF HABEAS CORPUS
   _
   To: District Director,
   Department of Homeland Securities, Immigration Customs Enforcement,
   YOU ARE HEREBY COMMANDED that the body of the Petitioners, restrained of
   their liberty, be brought to you together with a return stating the time and cause of his
   detention, before a Judge of the United States District Court for the District of Colorado,
   on the ____ day of _________, _____, at ______ o’clock ___.m., to do and receive all
   further directions which the said Judge shall then and there consider and make in that
   behalf.

   Witness the Hon. ___________________, Judge of this Court at
   _____________, this ____ day of ___________, 2008.
   ________________________
   Clerk Writ allowed: ________________, _____.
   ________________________________
   United States District Judge
   Plaintiff's Counsel contacted the U.S. Attorney’s Offices, Denver, Colorado by
   telephone on Thursday, April 03, 2008, to advise them of these motions, at (303)
   454-0100.
